Case 5:20-cr-00019-CJC Document 814 Filed 12/01/21 Page 1 of 6 Page ID #:4123
              Case 5:20-cr-00019-CJC Document 814 Filed 12/01/21 Page 2 of 6 Page ID #:4124

USA vs.     STERLING TORRES-VERDUZCO                             Docket No.:   EDCR 20-00019-CJC-12

4. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
   drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight
   tests per month, as directed by the Probation Officer.

5. The defendant shall submit his person, property, house, residence, vehicle, papers, or other areas under the
   defendant’s control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure
   to submit to a search may be grounds for revocation. The defendant shall warn any other occupants that the
   premises may be subject to searches pursuant to this condition. Any search pursuant to this condition will be
   conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant has
   violated a condition of his supervision and that the areas to be searched contain evidence of this violation.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
before 12 noon on February 2, 2022. In the absence of such designation, the defendant shall report on or before the
same date and time to the United States Marshal located at United States Court House, 411 W. Fourth Street, Santa
Ana, CA 92701.

The Court strongly recommends that the defendant be housed in FCI Lompoc facility or other low security risk facility
to facilitate visitation with family, friends, and loved ones.

On government’s motion, all remaining counts are dismissed.

Bond is exonerated upon surrender.

The Court advises the defendant of his right to appeal.

The Court also notes that pursuant to the parties plea agreement and the forfeiture statute that the monies seized by the
government totaling $223,890 are subject to forfeiture.




CR-104 (docx 12/20)                     JUDGMENT & PROBATION/COMMITMENT ORDER                                     Page 2 of 6
              Case 5:20-cr-00019-CJC Document 814 Filed 12/01/21 Page 3 of 6 Page ID #:4125

USA vs.     STERLING TORRES-VERDUZCO                                        Docket No.:       EDCR 20-00019-CJC-12


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           December 1, 2021
           Date                                                  U. S. District Judge


It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                 Clerk, U.S. District Court




           December 1, 2021                                By    Rolls Royce Paschal
           Filed Date                                            Deputy Clerk




CR-104 (docx 12/20)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 3 of 6
              Case 5:20-cr-00019-CJC Document 814 Filed 12/01/21 Page 4 of 6 Page ID #:4126

USA vs.     STERLING TORRES-VERDUZCO                                              Docket No.:     EDCR 20-00019-CJC-12


The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local          9.     The defendant must not knowingly associate with any persons
     crime;                                                                         engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal               any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a              by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                     family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                   review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by             protection of the community or rehabilitation;
     the court or probation officer;                                         10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                   not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation               other controlled substance, or any paraphernalia related to such
     officer;                                                                       substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment              being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation              ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                  enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.    The defendant must follow the instructions of the probation officer
     her at any time at home or elsewhere and must permit confiscation              to implement the orders of the court, afford adequate deterrence
     of any contraband prohibited by law or the terms of supervision                from criminal conduct, protect the public from further crimes of the
     and observed in plain view by the probation officer;                           defendant; and provide the defendant with needed educational or
8.   The defendant must work at a lawful occupation unless excused by               vocational training, medical care, or other correctional treatment in
     the probation officer for schooling, training, or other acceptable             the most effective manner.
     reasons and must notify the probation officer at least ten days
     before any change in employment or within 72 hours of an
     unanticipated change;




CR-104 (docx 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                         Page 4 of 6
              Case 5:20-cr-00019-CJC Document 814 Filed 12/01/21 Page 5 of 6 Page ID #:4127

USA vs.     STERLING TORRES-VERDUZCO                                             Docket No.:     EDCR 20-00019-CJC-12



     The defendant must also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
Payments must be delivered to:

          United States District Court, Central District of California
          Attn: Fiscal Department
          255 East Temple Street, Room 1178
          Los Angeles, CA 90012

or such other address as the Court may in future direct.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

          When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
behalf.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 5 of 6
               Case 5:20-cr-00019-CJC Document 814 Filed 12/01/21 Page 6 of 6 Page ID #:4128

 USA vs.     STERLING TORRES-VERDUZCO                                           Docket No.:        EDCR 20-00019-CJC-12




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                  FOR U.S. PROBATION OFFICE USE ONLY

 Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
 supervision, and/or (3) modify the conditions of supervision.


           These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



           (Signed)
                       Defendant                                                                  Date




                       U. S. Probation Officer/Designated Witness                                 Date




 CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
